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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                        Case No. 21-cv-21079-BLOOM/OTAZO-REYES

  SECURITIES AND EXCHANGE COMMISSION,

         Plaintiff,

  v.

  MINTBROKER INTERNATIONAL, LTD.,
  f/k/a SWISS AMERICA SECURITIES LTD.
  and d/b/a SURETRADER, and
  GUY GENTILE, a/k/a GUY GENTILE NIGRO,

        Defendants.
  _______________________________________________/

                                               ORDER

         THIS CAUSE came before the Court upon Plaintiff Securities and Exchange

  Commission’s (“Plaintiff”) Motion to Strike Defendant Guy Gentile’s (“Mr. Gentile”) Motion for

  Sanctions for Spoliation of Evidence under Rule 37(e) (hereafter, “Motion for Sanctions”) [D.E.

  173] and for Sanctions for Failure to Meet and Confer as Required by S.D. Fla. L.R. 7.1(a)(3)

  (hereafter, “Motion to Strike”) [D.E. 175]. This matter was referred to the undersigned pursuant

  to 28 U.S.C. § 636 by the Honorable Beth Bloom, United States District Judge [D.E. 176]. The

  undersigned held a hearing on this matter on April 10, 2023 (hereafter “Hearing”).

         In accordance with the undersigned’s rulings at the Hearing, it is

         ORDERED AND ADJUDGED as follows:

         1.      Due to Mr. Gentile’s failure to confer with Plaintiff as to the grounds for his Motion

  for Sanctions [D.E. 173], which has rendered the Motion for Sanctions obsolete, at least in part,

  Plaintiff’s Motion to Strike [D.E. 175] is GRANTED and Mr. Gentile’s Motion for Sanctions is
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  STRICKEN WITHOUT PREJUDICE. Plaintiff’s own request for sanctions in connection with

  its Motion to Strike is also DENIED WITHOUT PREJUDICE.

         2.      Mr. Gentile has leave to file, after conferral with Plaintiff, an updated Motion for

  Sanctions that complies with this Court’s Local Rules and the Federal Rules of Civil Procedure.

  Should Mr. Gentile file such a motion, the matter will be set for in-person hearing after briefing is

  complete.

         DONE AND ORDERED in Chambers at Miami, Florida, this 10th day of April, 2023.


                                                ___________________________________
                                                ALICIA M. OTAZO-REYES
                                                UNITED STATES MAGISTRATE JUDGE


  cc:    United States District Judge Beth Bloom
         Counsel of Record




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